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14
                                 UNITED STATES DISTRICT COURT
15                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
16   INSTITUTE FOR FISHERIES RESOURCES; and                  Case No. 23-cv-05748-JD
17   PACIFIC COAST FEDERATION OF FISHERMEN’S
     ASSOCIATIONS,
18                                                           PLAINTIFFS’
                 Plaintiffs,                                 ADMINISTRATIVE
19         v.                                                MOTION TO CONSIDER
20   BRIDGESTONE AMERICAS TIRE OPERATIONS,                   WHETHER ANOTHER
     LLC; CONTINENTAL TIRE THE AMERICAS, LLC;                PARTY’S MATERIAL
21   GITI TIRE (USA) Ltd.; THE GOODYEAR TIRE &               SHOULD BE SEALED
22   RUBBER COMPANY, individually and as successor in
     interest to COOPER TIRE & RUBBER COMPANY;
23   HANKOOK TIRE AMERICA Corp.; KUMHO TIRE
     U.S.A., Inc.; MICHELIN NORTH AMERICA, Inc.;
24   NOKIAN TYRES Inc.; NOKIAN TYRES U.S.
25   OPERATIONS LLC; PIRELLI TIRE LLC;
     SUMITOMO RUBBER NORTH AMERICA, Inc.;
26   SUMITOMO RUBBER USA, LLC; TOYO TIRE
     HOLDINGS OF AMERICAS Inc.; and YOKOHAMA
27   TIRE Corporation.
28               Defendants.

     PLS’ ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE SEALED
     CASE NO. 23-cv-05748-JD
            Case 3:23-cv-05748-JD         Document 176        Filed 11/12/24     Page 2 of 2




 1          Pursuant to Local Rule 79-5(f), Plaintiffs hereby move to consider whether Exhibits A
 2 and B to Plaintiffs’ Discovery Dispute Letter Regarding Defendant Michelin North America,
 3 Inc.’s Notice of Clawback and Privilege Log, ECF 175, should be filed under seal.
 4          Exhibit A includes documents that Defendant Michelin North America Inc. (“Michelin”)
 5 has identified as privileged under Federal Rule of Civil Procedure 26(b)(5)(B) and Section 11 of
 6 the Parties’ Stipulated Protective Order, ECF 139, and may be filed under seal under Rule
 7 26(b)(5)(B) and Section 12.3 of the Parties’ Stipulated Protective Order.
 8          Exhibit B is Michelin’s Privilege Log, which Michelin has designated as “confidential”
 9 under Section 5 of the Parties’ Stipulated Protective Order. Plaintiffs submit this document for
10 filing under seal under Section 12.3 of the Stipulated Protective Order.
11          DATED this 12th day of November, 2024,
12                                               /s/ Elizabeth B. Forsyth
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      PLS’ ADMINISTRATIVE MOTION TO                 1
      CONSIDER WHETHER ANOTHER PARTY’S
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      CASE NO. 23-cv-05748-JD
